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                                        IN THE UNITED STATES DISTRICT COURT
                                        FOR THE NORTHERN DISTRICT OF TEXAS
                                                  DALLAS DIVISION

   LINITED STATES OF AMERICA

   v.                                                                 NO. 3:19-MJ-1015-BT

  DAVID CADENA

                                GOVERNMENT'S MOTION FOR PRETRIAL DETENTION

        The United States of America ("the government") moves for pretrial detention                          of
  Defendant pursuant to 18 U.S.C. $ 31a2(e) and (f).

                        L.       Elieibilitv of Case: This case is eligible for a detention order   because
   it involves:

        X         Crime of violence [18 U.S.C.$ 3156(a)(a)]
        n         Maximum sentence of life imprisonment or death
        u         Controlled Substance offense punishable by 10 or more years
        tr        Felony with two prior convictions in above categories
        n         Felony involving a minor victim
        X         Felony involving the possession or use of a firearm, destructive device, or any
                  other dangerous weapon
        n         Felony involving a failure to register [1S U.S.C . S 2250]
        X         Serious risk that Defendant will flee
        f]        Serious risk that Defendant will obstruct justice

        2. Reason for Detention. The Court should detain Defendant because there are
  no conditions of release that would reasonably assure:

        X        Defendant's appearance as required
        X        The safety of the community
        n        The safety of another person

                  3. The government will invoke the rebuttable presumption
                                                                      against Defendant
  because there is probable cause to believe that Defendant has committed:


        n        A Controlled Substance Offense for which             a   maximum term of imprisonment of
                   10 years or more is prescribed
        n        An offense under l8 U.S.C. $$ 92a(c) ,956(a), or 2332b


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  T   An offense listed in 18 U.S.C. S 2332b(gX5XB) ["Federal crime of terrorism"] for
      which a maximum term of imprisonment is l0 years or more is prescribed
  n   An offense under Chapter 77 of Title 18 [Peonage, Slavery, and/Trafficking in
      Persons] for which a maximum term of imprisonment of 20 or more is prescribed
  x   A crime involving a minor [see offenses listed in l8 U.S.C. $ 31a2(e)(3)(E)]
  T   Defendant has previously been convicted of an offense described in 18 U.S.C. $
      3142(t)(l) which was committed while Defendant was released on bond pending
      trial for any offense and less than 5 years have elapsed since the latter of
      Defendant's conviction or date of release from imprisonment for such conviction

       4. Time for Detention Hearine. The government requests the Court to conduct
the detention hearing
  !      At Defendant's first appearance
  X     After a continuance  of I   day(s).

                                                 Respectfully submitted,

                                                 ERIN NEALY COX
                                                 United States Att



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                              CERTIFICATE OF SERVICE
       I hereby certiff that on November 12r2019, I filed the foregoing document with
the Clerk of Court for the United States District Court, Northern District of Texas, and   I
have also provided a copy to defense counsel.




                                                 Assistant United States Attorney




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